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                                                                                      U.S. OISiRICT COUR.J
                                                                                     DISTRICT OF VERMONT
                                                                                             FILED
                              UNITED STATES DISTRICT COURT
                                        FOR THE                                     2016 JUN 27 PH     ~:   19
                                  DISTRICT OF VERMONT
                                                                                            CLERK
In re Application to Disclose Tax Returns                  No.   2~\to--r't\\-9    \ BY       .        ~
and Return Information                                                      ,J            DEPUTY CLERK
   ORDER FOR DISCLOSURE OF TAX RETURNS AND RETURN INFORMATION

       On this   2-.J "t of June, 2016, comes before this court the sealed application of the
United States Attorney for the District of Vermont for an ex parte order, pursuant to 26 U.S:C. §

61 03(i)(1 ), directing the Internal Revenue Service to disclose tax returns and return information

of Amber Williams-Eason, SSN: XXX-XX-XXXX, which returns and return information are

described as IRS form 1040, together with all schedules and attachments for tax years 2013,

2014, and 2015, including all information return transcripts, Forms 1099, 1098, K-1, 8300, W-2

and W-3.

       After examining the application, the court finds:

        1.       There is reasonable cause to believe that violations of21 U.S.C. §§ 841(a), 846

and 18 U.S.C. §§ 1956(a)(l)(A)(i), 1956(h) have been committed;

       2.        There is reasonable cause to believe that the returns and return information are or

may be relevant to a matter relating to the commission of such acts;

       3.        The returns and return information are sought exclusively for use in a federal

grand jury proceeding concerning such violations; and

       4.        The information sought cannot reasonably be obtained from another source.

       The court further finds that the applicant is an employee of the United States Department

of Justice and is primarily and directly engaged in, and the information sought herein is solely

for their use in, investigating the above viofations, and that the application is authorized by Eric

S. Miller, United States Attorney for the District of Vermont. It is therefore


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        ORDERED that the Internal Revenue Service:

        1.         Disclose copies of form 1040 and all attachments and schedules of Amber

Williams-Eason, SSN: XXX-XX-XXXX, which were filed for tax years 2013,2014, and 2015,

including all information return transcripts, Forms 1099, I 098, K-1, 8300, W -2 and W-3;

        2.         Disclose no returns or return information other than as described above;

        3.         Certify, if returns and return information for the years set forth above have not

been filed, or are not on file with the IRS, that no such returns and return information have been

filed or are on file;

        4.         Disclose the returns and return information for the years set forth above if they

come into the possession of the IRS within 90 days of the date this Order is signed;

        5.      Disclose such returns and return information and make such certification only to (a)

United States Attorney Eric S. Miller, Assistant United States Attorney Timothy C. Doherty, Jr.,

and staff members working under their supervision in the above-described investigation; and (b)

Special Agent Mark Persson of the Drug Enforcement Administration and members working

with him in the above-described investigation.

        IT IS FURTHER ORDERED that applicant and any officer or employee of any Federal

agency who may be subsequently assigned in this matter shall use the returns and return

information disclosed solely in connection with (a) the above-described investigation relating to

violations of 31 U.S.C. § 5324; (b) such other violations of any federal criminal statutes which,

although presently unknown, are discovered in the course of the investigation; (c) the criminal

and civil    forfeitur~es   which may arise from such violations; and (d) any court proceedings

resulting from such investigations and prosecutions and that no disclosures shall be made to any




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other persons except in accordance with the provisions of26 U.S.C. § 6103 and 26 C.F.R. §

3 0 1.61 0 3 (i )-1.

          IT IS FURTHER ORDERED that the application and attached affidavit are ordered

sealed until further order of the court. The Clerk is directed to issue a certified copy of this

Order to the United States Attorney to effectuate the purpose of this Order.

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          Dated at Burlington, in the District of Vermont, this ·.2:..__ Clay of June, 2016.




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